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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF VIRGINIA
                              Alexandria Division

UNITED STATES OF AMERICA,               )
                                        )
      v.                                )                           Case No. 23MJ32
                                        )
JAMES MEEK.                             )


                                 NOTICE OF APPEAL

      James Meek hereby appeals from the District Court’s order denying release entered on

February 6, 2023. ECF 29.




                                        Respectfully Submitted,

                                        By: /s/ Eugene V. Gorokhov
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                              CERTIFICATE OF SERVICE

      I hereby certify that I filed the foregoing document VIA ECF which provides a copy to the

AUSA of record.




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